Case 6:22-cv-00572-PGB-LHP Document 98 Filed 09/15/23 Page 1 of 4 PageID 2209




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 ROBERT STENGL, DANIEL WILL,
 RONALD F. KOSEWICZ, GARY K.              Case No.: 6:22-cv-00572-PGB-LHP
 COLLEY, LESLIE D. DIAZ, AMAYA
 JOHNSON, WILLIAM A.
 MCKINLEY, AND JOHN KARIPAS,
 INDIVIDUALLY AND ON BEHALF OF ALL
 OTHERS SIMILARLY SITUATED,

       Plaintiffs,

 v.

 L3HARRIS TECHNOLOGIES, INC.,
 THE BOARD OF DIRECTORS OF
 L3HARRIS TECHNOLOGIES, INC.,
 THE INVESTMENT COMMITTEE
 OF L3HARRIS TECHNOLOGIES,
 INC. AND JOHN DOES 1-30,

       Defendants.


            JOINT STIPULATION OF AGREED MATERIAL FACTS

      Pursuant to the Court’s Case Management Order (Doc. 32), Robert J. Stengl,

Daniel Will, Gary K. Colley, Leslie D. Diaz, Amaya Johnson, William A. McKinley,

and John Karipas (collectively, “Plaintiffs”) and L3Harris Technologies, Inc., the

Board of Directors of L3Harris Technologies, Inc., and the Investment Committee of

L3Harris Technologies Inc. (collectively “Defendants”) hereby stipulate to the

following agreed material facts for purposes of Defendants’ motion for summary

judgment:
Case 6:22-cv-00572-PGB-LHP Document 98 Filed 09/15/23 Page 2 of 4 PageID 2210




      1.     L3Harris Technologies Inc. was created in mid-2019 through a merger of

L3 Technologies, Inc., formerly known as L3 Communications, Inc., (“L3”) and

Harris Corporation. Before the merger, both companies sponsored their own 401(k)

plan. On December 31, 2019, the L3 401(k) plan merged with the Harris 401(k) plan

to create the L3Harris Technologies Inc. Retirement Savings Plan. This case only

involves the legacy L3 401(k) plan, called the L3 Technologies Inc. Master Savings

Plan (the “Plan”).

      2.     The Benefits Plan Committee (the “Committee”) was the named

fiduciary of the Plan. Between November 23, 2015 and December 31, 2019, the

Benefits Plan Committee consisted of either 5 or 6 members who were appointed by

their title. The members of the Committee included L3’s Chief Executive Officer,

Chief Financial Officer, General Counsel/Chief Legal Officer, Chief Human

Resources Officer, Treasurer, and briefly the Chief Operating Officer.

      3.     On June 5, 2023, the Court certified the following class: “All persons,

except Defendants and their immediate family members, who were participants in or

beneficiaries of the L3 Technologies Master Savings Plan, and either (i) paid

recordkeeping and administration fees at any time from November 23, 2015 through

July 1, 2018 (the ‘Recordkeeping Class Period’), or (ii) were invested in allegedly

imprudent investment options from November 23, 2015 through December 31, 2019

(the ‘Imprudent Investment Class Period’).”




                                          2
Case 6:22-cv-00572-PGB-LHP Document 98 Filed 09/15/23 Page 3 of 4 PageID 2211




      4.     During the relevant period, the number of participants in the Plan

decreased from approximately 52,000 to 47,000, and total Plan assets increased from

approximately $4.45 billion to $6.26 billion.

      5.     Plaintiffs are all former employees of L3 who participated in the Plan and

invested in certain of the investment options offered by the Plan.

      6.     During the relevant period, Fidelity Management Trust Company served

as the Plan’s recordkeeper.

      7.     During the relevant period, the Plan offered a suite of target date funds

called the Fidelity Freedom Funds, as well as the Fidelity Magellan Fund, and the

Fidelity Diversified International Fund.

  Dated: September 15, 2023                     Respectfully submitted,

  /s/Mark K. Gyandoh                             /s/Mark B. Blocker
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                                           3
Case 6:22-cv-00572-PGB-LHP Document 98 Filed 09/15/23 Page 4 of 4 PageID 2212




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  Counsel for Plaintiffs


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that, on September 15, 2023, I electronically filed the

foregoing with the Clerk of the Court by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record.


                                                  /s/Thomas A. Zehnder
                                                  Thomas A. Zehnder
                                                  Florida Bar No. 0063274

                                                  Counsel for Defendants




                                             4
